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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                           MIDLAND/ODESSA DIVISION
UNITED STATES OF AMERICA                       §
                                               §
vs.                                            §      NO: MO:18-CR-00037(1)-DC
                                               §          MO:21-CV-00253
(1) ANGELA MICHELLE WILLIAMS                   §

                                     FINAL JUDGMENT
       On this day, the Court entered an Order denying Movant’s Motion to Vacate, Set Aside

or Correct Sentence, filed pursuant to 28 U.S.C. §2255, for reasons clarified therein. The Court

now enters its final judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure.

       It is hereby ORDERED that Movant’s §2255 is DENIED AND DISMISSED.

       It is further ORDERED that the §2255 is DISMISSED WITH PREJUDICE.

       It is lastly ORDERED that all other pending motions, if any, are DENIED AS MOOT

AND A CERTIFICATE OF APPEALABILITY WILL NOT ISSUE IN THIS CASE.

       It is so ORDERED.

       SIGNED this 19th day of August, 2022.




                                     DAVID COUNTS
                                     UNITED STATES DISTRICT JUDGE
